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              Monster Energy Company v. Chen Wensheng, et al. ‐ Case No. 15‐cv‐4166


                               Amended Schedule A
                                         Defendants
No.                                          Name / Alias
   1   Chen Wensheng
   2   ZhouRunFa
   3   Domains By Proxy, LLC
   4   Jame Prentice
   5   Pilawka Tomasz
   6   Dan Thurston
   7   lin jian
   8   weng junpeng
   9   chen songlin
  10   junlongwu
  11   xia tian
  12   Sarim Shakeel
  13   zhengtao
  14   Mary Greenlee
  15   ke tian rong
  16   Ji Rong
  17   xiao lai
  18   Whois Privacy Corp.
  19   jamepull
  20   alix alen
  21   Lisa Lepre
  22   lin dan dan
  23   zheng wen
  24   chen jinnan
  25   Weng Chenguang
  26   liu wen
  27   lin wen
  28   derya sahin
  29   Wei Qingshan
  30   mf wu
  31   kelly hales
  32   JIANG ZHENBIAO
  33   lucas mathern
  34   Liu Yang
  35   Fu Zhiqiang
  36   lin yi fei
  37   Liu Li Ming
  38   meng fan jian
  39   Fu Chao Wang

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40   John Brown
41   brands key
42   zhushen
43   Privacy Protection Service INC d/b/a PrivacyProtect.org
44   Liao qing
45   tian qing
46   Denice Deal
47   Domains By Proxy, LLC
48   laurence Gerard
50   anna selinna
51   WHOISGUARD, INC.
52   anna fox
53   hong rui
54   zheng zhonghui
55   Zhu lanXin
56   Li guangxian
57   wen pin
58   Thomas Teske
59   li hongyuan
60   huang huazhi
61   Cynthia Agli
62   Li Yan
63   Chen Fang
64   Xu Mei
65   Chen
66   meng fan jian
67   Joe Arena
68   zhu huajie
69   bastien autret
70   Yu Yang
71   chen guijun
72   Guo chunsheng
73   Zhang YeYing
74   Gu Meihua
75   si man
76   LI ZHIPENG
77   Chen Lifen
78   robert jones
79   ZHANG WEINA
80   xong ping
81   Bai Li Xiao
82   Jose Tavares
83   bestBJ
84   XU TINGTING
85   daniel
86   liu zhonghui
87   jiang xinxin

                                                   2 of 24
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 88   wang xia
 89   hengxing jinjiang
 90   Michael Fricke
 91   WU QINQIN
 92   CHEN XIN
 93   wang wei
 94   chen wei zu
 95   Su Ding Fang
 96   Li Ri Bai
 97   Chen
 98   andy cao
 99   Organization
100   Qi Lin
101   fdg gsrdg
102   dfgg gsdfg
103   fghfgg rdfg
104   guillaume gheerardyn gheerardyn
105   hezuo002
106   Sean Ellis
107   Regis Begin
108   ivan danesi
109   ma liping
110   deng yuqin
111   Huang Zongxian
112   Zhou Xueyan
113   affelse
114   lay pill
115   Dai Sanmei
116   wang zeng
117   Pei Shu Rong
118   li liang
119   Ming Zeng
120   Zeng Ming

121   Whois Privacy Protection Service of Chengdu West Dimension Digital Technology Co., Ltd
122   Dexter Reading
123   XIE DENG
124   Chen Jinping
125   TU XIAOGUANG
126   ZHANG HAIBIN
127   YinSi BaoHu Yi KaiQi (Hidden by Whois Privacy Protection Service)
128   zhang xiao ming
129   zhao xiqng
130   zhao xiqing
131   YILIGAO
132   CHENG guang
133   Neil Rosbotham

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134   dongsheng trade CO.,Ltd
135   Aminah Talukdar
136   Patricia Linchuck
137   fgdsf serwe
138   fdgfdgd ger
139   fgsdf dgdfg
140   hfd thjth
141   fdsdg reg
142   Domains By Proxy, LLC
143   Shaowu wu
144   Wu ShaoWu
145   huangjianhai
146   Antwaun
147   Li Ling
148   Chen Yanfang
149   Gassier Christophe
150   Nevin Weeks
151   Gallicier Mathieu
152   Bai Shaolan
153   fdg dfgr
154   dfg dsf f
155   Zhang Xian
156   Wallis Hillman
157   Guo PingKe
158   Peng Tingting
159   Zhang Yanping
160   Zhao Xia
161   Zhang Xincheng
162   Dong Li
163   ou
164   jack micjob
165   Patrick Hubbard
166   Armando W. Wilson
167   zhangjing
168   Angelia Corbett
169   Guangzhou K‐Comfort Trading Co., Ltd.
170   God loves fashion
171   YOYO Smile 
172   Case‐Manufacturer
173   wholesale‐cases
174   China shopping city
175   amazoncases
176   retailboy
177   Sunshine Internation Co,.LTD
178   online‐custom
179   Dream flying co., LTD
180   GoTo store

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181   lingling Trade Co.,Ltd
182   Your Favourite
183   Jinxin Trade Co., Ltd.
184   HOW‐YES
185   TOP‐LI
186   Welcome To One Line ,One World Store (HK)
187   TOP BRANDS STORE
188   Online Store 342161
189   Mr .Ankol
190   top10bestseller
191   Hi‐hop Cap
192   shumeng zhao's store
193   Weekend
194   Sky's shop for motorcycle accessories
195   YIJIN
196   date of happiness
197   Online Store yanmei
198   zhengchun case
199   brands store
200   The Pocket of Doraemon
201   factorycase store
202   Chic Paradise Art
203   Motocycle club
204   moumou chen
206   Shenzhen Landda Shoe Company
207   Fishing‐king Tackle Co.,Ltd
208   Fishing‐king Tackle Co.,Ltd 
209   Allure Love
210   Saving Big Here
211   COOL KNIGHT Motorcycle Accessories Store
212   Ray's Online Store
213   Scarborough Fair 2014 
214   Funs Hobby
215   MU YU (HK )TRADING CO. LTD China 
216   MU YU (HK )TRADING CO. LTD China
217   vivilok store
218   Zhejiang Showlove Jewelry Co., Ltd
219   PowerZone Co.,Ltd 
220   Knightcat's Store 
221   swellcraft&art 
222   CYCLES CLUB‐1
223   LUCKY SHERRY LTD. 
224   SAMT SHENZHEN CO,.LTD.
225   Shenzhen ZUKU Technology Co.,Ltd 
226   ARTS AND CRAFTS ..
227   SCL MOTOS
228   Sportfairings

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229   heng
230   Shenzhen Sumwin Electronic Commerce Co., LTD 
231   Misssu Fashion
232   Anime hoodie
233   All Your Need 
234   MCC_SHOP
235   Italtel small flowers
236   TONYJOHN 
237   New Technology Development Co., Ltd. 
238   TradeWorld4U 
239   FAKA warehouse
240   Getop International Technology Limited
241   zorro‐E‐commerce Co. Ltd
242   Jia Xuan Store 
243   Neon Factory Sales
244   Tungfull Digital Technology Co.,Ltd 
245   ACI auto supplies company 
246   cool face 
247   Super shops 
248   world Saler
249   Xin Hao Tai motorcycle parts co ltd 
250   creek 
251   Tarzan Outdoor Co., LTD
252   Giftstoreany 
253   Fashion Neon Sign
254   Miss Sunshine
255   shoppsilk road 
256   parts4bike
257   Universal Trading
258   Outdoor‐Sport Supermarket 
259   Spring's International Wholesale mall
260   vove
261   professional protective item store
262   totem store
263   NO.1 Fashion Hats Store
264   dfs2014
265   We Are Young & Best 
266   We Are Young & Best 
267   Racing
268   Racing 
269   AHL
270   The Beautiful Country
271   Fashion Hat's Store 
272   Million Sports Mall 
273   carlos case store 
274   Ski clothing 1681 fashion
275   Gaz Rom Co., Ltd. 

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276   GUANGZHOU HENGHUI MOTORCYCLE PARTS CO.,LTD
277   In‐Tool‐Home Trusted tool mall !
278   Smart Choice store 
279   Digi‐tech electronics
280   Preferential ski jacket dress 1868
281   Car shell. 
282   One Step One Change
283   Chic Paradise Art 
284   Wonder Technology Co.,Ltd
285   Revolutionary Neon signs
286   SUNSHINE‐H
287   JDMOTOR International Trading Co., Ltd
288   Drop Shop
289   HANS BO
290   Mastation 
291   Hangzhou JiuCheng E‐Commerce Co., Ltd.
292   Fast Racing 
293   Hat Cap factory
294   Legend Trading Co., Ltd
295   Legend Trading Co., Ltd 
296   An honest store 
297   Personalized DIY 
298   World Of Drop Shipping
299   World of DropShipping Cases
300   T‐More Sport 
301   L&SPORT
302   KingRuth
303   Wanse006 
304   Amazing Market
305   CccStore
306   BOBANDLEE
307   SUZHOU INTERNATIONAL CO,LTD
308   Tony's Garage 
309   Living Goods Supply Center 
310   Living Goods Supply Center
311   South Korea's Hong Kong 
312   Exploiter
313   feng yi ju 
314   EM‐Mall 
315   GVM RACING STORE
316   GVM RACING STORE 
317   HHED Yesir
318   XJL'S SPORT COLLECTION
319   Alice watch
320   H & Z 
321   Motorcycle appearance shop 
322   SUMSOAR BOUTIQUE 

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323   Godspeed Lau
324   Fashion wholesale Retail
325   Fashion Bag Zone 
326   Freelander Outdoor
327   Yiwu Desong Hardware Jewelry Store 
328   HOHO Film World
329   ShenZhen CBD Technology Co.,LTD
330   T‐shirts wholesale shop 
331   4urlife
332   goog shopping 
333   SameZone Group CO.,LTD
334   Rita's Outdoor Equipments Store
335   Eighteen Forever 
336   freedom outdoor sports store
337   MKSR Professional auto parts modification
338   Topshasha
339   PATLI PASSION
340   Sport equipments
341   Guang Zhou Lan Qian Automobile & Bike Parts C... 
343   X&M Motorcycle modification
344   Popular museum K3
345   AMTy Technology Co., Ltd.
346   honlike
347   Guangzhou Wangyi Trade Co., Ltd.
348   mqxxc
349   Ski goggles store
350   Shenzhen Yongfu Car Parts Co.,Ltd. 
351   Taizhou Joseph Motorcycle Parts Co.,Ltd 
352   Taizhou Joseph Motorcycle Parts Co.,Ltd
353   Grand Prairie
354   zhejiang automobile fittings
355   Tina yao's store
356   Rockbiker trading co., Ltd 
357   Autotop Selected
358   Hello Katie's store
359   Longchuan Sex Night Co.,Ltd.
360   Amntion‐ custom lanyard factory 
361   SZ Elink Electronics Co., Ltd. 
362   Xinxin
363   ADV PRO Advertising Shop since 1997
364   Thinkmore Technology Co.,Ltd
365   Hong Kong macro Lin co., LTD
366   New Sight Vinyl World
367   Luis Trade .Ltd
368   Best Choice's Store Neon Light Sign wholesale…
369   Allen Johnson's store
370   Allen Johnson's store 

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371   Allen Johnson's store 
372   Miao Gu Fashion Jewelry Co.,Ltd. 
373   Bodhi Tree CO., LTD
374   Bodhi Tree CO.,LTD
375   Jessie's Super Store
376   Shenzhen Tongfangda Technology Co., Ltd.
377   Jinxin Trade Co., Ltd. 
378   Electronic foreign trade
379   Mssmile store
380   Online Store 435619 Trade co., Ltd. 
381   Russell DIRT BIKE ATV PARTS STORE
383   GuLuGuLu Store
384   MicroWorks EM Co., Ltd
385   JESSE Trading Co.,Ltd 
386   Online Store 516272
387   China's dashan shou tai co., LTD
388   Bela Kristen's store
389   Oriental Wholesale & Retail Store
390   Mr Zhu store
391   TGND babay fashion accessories store
392   Alexandr Li's store
393   Vivo Supermarket For You
394   Best Feel
395   Deal Shop
396   Shenzhen Wholesale Shop
397   Wholesale Price Top Service 
398   Wholesale Price Top Service
399   Jeanshome ‐ Wholesale belt buckles 
400   Bestore trading
401   Pufeter business Co.,Ltd 
402   Graceful Life 
403   Graceful Life
404   xiulong he's store 
405   Bob 's store
406   Wembley Night
407   EMILY CHENG
408   Cycling No.1 store 
409   Langlang's motorcycle store
410   Langlang's motorcycle store 
411   Motorcycle protective equipment
412   1729mily 
413   1729mily
414   Fribest Industry Molding Factory
415   May's Store
416   IMPERIAL CROWN
417   Roya wholesale store
418   SHOW‐ME

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419   Haitun Store 
420   Miss Lily Come On
421   SISI Top Beauty World 
422   China LuJin supplies Processing plant 
423   OVERSTEP GIFTS
424   Taiwan Motors 
425   Bestcarwrap Ltd
426   Bestcarwrapy Ltd
427   ZXGYMT FAIRINGS 
428   Guangzhou phoenix hotel tourism supplies
429   Online Store 738068 
430   tornado necklace shopping store No.1 
432   cindy pan's store Min Order usd$10 
433   HK SHENGYIN Technology Co., Ltd.
434   JL Group 
435   Originality change life
436   Cherry Blossoms One‐Stop Service
437   KELE STORE
438   Sun Nice socks
439   Pro Auto Beauty
440   B&Y Boutique 
441   Shenzhen Felcosion Technology Co., Ltd.
442   Sports Bar 
443   Dave's store
444   China Cylces
445   GoGo Sports Equipment
446   xxfairings LLC's store 
447   Diego Sun's motor Store 
448   MFS MOTOR Store
449   J&X International Comprehensive Trade Co.,Ltd
450   IDEALHERE E‐COMMERCE TRADE LTD
451   Dear Lover Fashion Shenzhen Store 
452   BJ Performance's store
453   Angel_Clothes Store
454   Shenzhen Orino Technology Co., Limited 
455   Shenzhen Orino Technology Co., Limited
456   buckles family Brown's store 
457   Cheapest Retailer 

461   YOUR STYLE YOU CALL THE SHOTS 
462   YiXing Yao's store
463   e‐lifestyles
464   World of Home Décor since 2006
465   Strawberry pie
466   Dongguan Babytree Garment Co.,Ltd
467   Hedy Ann store
468   piollowcase ‐store

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 469   sagi tong
 470   caseexpresshipping
 471   Sports Salon 
 472   ABC Technology World
 473   beautylady1024
 475   x‐motors
 477   anna‐store
 478   great_seller_2010
 479   optimal‐products
 480   china‐leds‐factory
 481   lamp‐wholesaler
 482   ronghua996
 483   ronghua996 
 484   tilacc
 485   ahmusawi 
 486   ahmusawi
 487   coolhousestore
 488   cretikone34
 489   danapark4 
 490   danapark4
 491   gleglobal 
 492   lamisso33
 493   lokaloki98
 494   reinage
 495   stickeraholic
 496   taogik78
 497   venuswu
 498   yoshitsune
 499   WYZ Sheng Zheng electric Co.
 500   evesin2009 car accessories 

                        Defendant Online Marketplace Accounts
No                                                URL
     1 kcomfort.en.alibaba.com
     2  aliexpress.com/store/1229356
     3  aliexpress.com/store/1522546
       aliexpress.com/item/2013‐hot‐new‐design‐10pcs‐lots‐Mqnster‐Energy‐case‐cover‐for‐iphone‐5‐
     4 5th‐free‐shipping/1264934303.html
       aliexpress.com/item/2013‐hot‐new‐design‐10pcs‐lots‐Mqnster‐Energy‐case‐cover‐for‐iphone‐5‐
     5 5th‐free‐shipping/1504665337.html
       aliexpress.com/item/2014‐Fashionable‐men‐and‐women‐monster‐paws‐flat‐brimmed‐hat‐
     6 paint‐color‐inkjet‐point‐level‐street/1985286763.html
       aliexpress.com/item/2014‐free‐shipping‐hot‐newest‐arrival‐5pcs‐lots‐wholesale‐Mqnster‐
     7 Energy‐PU‐leather‐card‐foldable‐case/1531153296.html
       aliexpress.com/item/2014‐free‐shipping‐hot‐newest‐arrival‐5pcs‐lots‐wholesale‐Mqnster‐
     8 Energy‐PU‐leather‐card‐foldable‐case/32245682500.html


                                                 11 of 24
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   aliexpress.com/item/2014‐Harajuku‐trend‐Monster‐luminous‐ghost‐Star‐Backpack‐couple‐
 9 student‐backpack‐canvas‐bag‐3color/1996977289.html
   aliexpress.com/item/2014‐New‐coming‐2pcs‐lot‐Mqnster‐Energy‐pu‐leather‐wallet‐cases‐for‐
10 iPhone‐4‐4g‐4s/1505981246.html
   aliexpress.com/item/2014‐newest‐KAWASAKI‐monster‐pattern‐men‐and‐women‐canvas‐
11 Riding‐Backpack‐mochilas‐masculina‐infantil‐and‐travel/32237214403.html
   aliexpress.com/item/20pcs‐lots‐New‐wholesale‐Mqnster‐Energy‐hard‐white‐case‐cover‐for‐
12 iphone‐4‐4G‐4S‐free/1575118511.html
   aliexpress.com/item/4‐7‐inch‐white‐side‐for‐I6‐New‐10pcs‐lots‐wholesale‐Mqnster‐Energy‐
13 hard‐white‐case/2049376144.html
   aliexpress.com/item/Cell‐Phone‐Case‐Cover‐For‐Galaxy‐S3‐Monsters‐Energy‐Protective‐Stylish‐
14 Case‐Hot‐Sell‐I9300‐Cases/32270367501.html
   aliexpress.com/item/Free‐shipping‐2014‐hot‐motorcycle‐bike‐motorcycle‐backpack‐travel‐bag‐
15 large‐capacity/32248984737.html
   aliexpress.com/item/Free‐Shipping‐man‐bag‐personalized‐double‐backpack‐bag‐casual‐travel‐
16 bag‐man‐bag‐motorcycle‐hard‐pack/1485576499.html
   aliexpress.com/item/Free‐shipping‐MONSTER‐Hat‐Flat‐Brim‐Hip‐Hop‐Punk‐Baseball‐Cap‐
17 Trucker‐Hat‐Sun‐Hat/1662727493.html
   aliexpress.com/item/Free‐shipping‐MONSTER‐outdoors‐water‐bag‐cycling‐knapsack‐
18 mountaineering‐bag‐water‐bag‐backpack/1872620725.html
   aliexpress.com/item/Free‐Shipping‐Original‐Fox‐Monster‐Motorcycle‐Bag‐European‐Brand‐
19 Riding‐Backpack‐for‐Men/1876711555.html
   aliexpress.com/item/Freeshipping‐wholesale‐mens‐Monster‐shirt‐Autumn‐shirts‐fluorescent‐
20 cloth‐The‐ghost‐s‐paw‐cloth‐cloth‐for/1286149765.html
   aliexpress.com/item/Ghost‐dog‐MONSTER‐riding‐backpack‐backpack‐outdoor‐sports‐water‐
21 bottle‐bag/899234304.html
   aliexpress.com/item/High‐quality‐man‐and‐women‐Monster‐adjustable‐snapback‐hats‐
22 summer‐baseball‐caps‐hip‐hop‐caps/1968152091.html
   aliexpress.com/item/High‐quality‐man‐and‐women‐Monster‐adjustable‐snapback‐hats‐
23 summer‐baseball‐caps‐hip‐hop‐caps‐rap/1968152091.html
   aliexpress.com/item/Kawasaki‐ghost‐MONSTER‐rear‐seat‐bag‐by‐backpack‐sports‐bag‐sports‐
24 car‐by‐the‐package‐free/1445362696.html
   aliexpress.com/item/Kawasaki‐MONSTER‐rear‐seat‐package‐rear‐package‐sports‐
25 backpack/628890110.html

26 aliexpress.com/item/Kawasaki‐motorcycle‐backpack‐big‐size‐free‐shipping/1891504673.html
   aliexpress.com/item/Monster‐Snapback‐Free‐shipping‐wholesale‐20pcs‐lot‐cheap‐Monster‐
27 Snapback‐cap‐baseball‐Snapback‐cap‐men‐women/1870177773.html
   aliexpress.com/item/MOTOGP‐46‐Rossi‐2014‐Rossi‐monster‐version‐of‐the‐perfect‐racing‐cap‐
28 embroidered‐hats‐to‐commemorate/1859126862.html
   aliexpress.com/item/Motor‐Monster‐Blaster‐BACKPACK‐Motorbike‐Helmet‐Storage‐bag‐2014‐
29 biker‐Sports‐Duffles/1877343136.html
   aliexpress.com/item/New‐10pcs‐lots‐wholesale‐Mqnster‐Energy‐hard‐white‐case‐cover‐for‐
30 iphone‐5‐5th‐free‐shipping/2041772531.html
   aliexpress.com/item/new‐2014‐hot‐monster‐caps‐Mens‐and‐womens‐monster‐caps‐baseball‐
31 caps‐fitted‐caps‐monster‐cheap/2016457864.html



                                              12 of 24
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   aliexpress.com/item/New‐2014‐Luminous‐Monster‐Ghostcrawler‐printing‐galaxy‐Canvas‐
32 backpacks‐Kid‐School‐Bags‐for‐teenagers‐rucksack‐laptop/2013485795.html
   aliexpress.com/item/New‐20pcs‐lots‐wholesale‐Mqnster‐Energy‐hard‐white‐case‐cover‐for‐
33 iphone‐5‐5th‐free‐shipping/1669290955.html
   aliexpress.com/item/New‐Arrival‐Yellow‐Energy‐Logo‐Protective‐Custom‐Design‐Rubber‐Case‐
34 Cover‐Phone‐Case‐for‐iphone6/32221806083.html

35 aliexpress.com/item/New‐Monster‐Shirt‐Classic‐Model‐Moto‐GP‐Serie/1873822043.html
   aliexpress.com/item/Tide‐hat‐monster‐ghost‐hand‐bboy‐fluorescent‐color‐baseball‐cap‐flat‐
36 brimmed‐hat‐hiphop‐hip‐hop/2024772297.html
38 aliexpress.com/store/1014164
39 aliexpress.com/store/1018084
40 aliexpress.com/store/1018084
41 aliexpress.com/store/1033539
42 aliexpress.com/store/1037068
43 aliexpress.com/store/1037808
44 aliexpress.com/store/105098
45 aliexpress.com/store/1052454
46 aliexpress.com/store/105454
47 aliexpress.com/store/1082607
48 aliexpress.com/store/1082607
49 aliexpress.com/store/1083171
50 aliexpress.com/store/1083555
51 aliexpress.com/store/1088102
52 aliexpress.com/store/109472
53 aliexpress.com/store/110714
54 aliexpress.com/store/110962
55 aliexpress.com/store/1110775
56 aliexpress.com/store/1112973
57 aliexpress.com/store/1131165
58 aliexpress.com/store/1135073
59 aliexpress.com/store/114049
60 aliexpress.com/store/1146175
61 aliexpress.com/store/1149249
62 aliexpress.com/store/1159202
63 aliexpress.com/store/1162333
64 aliexpress.com/store/1168061
65 aliexpress.com/store/1168489
66 aliexpress.com/store/116984
67 aliexpress.com/store/1186334
68 aliexpress.com/store/1186525
69 aliexpress.com/store/118958
70 aliexpress.com/store/1189610
71 aliexpress.com/store/1191537
72 aliexpress.com/store/1196789
73 aliexpress.com/store/1198582
74 aliexpress.com/store/1200997

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 75   aliexpress.com/store/1202603
 76   aliexpress.com/store/120565
 77   aliexpress.com/store/1206116
 78   aliexpress.com/store/1209472
 79   aliexpress.com/store/1210864
 80   aliexpress.com/store/1212201
 81   aliexpress.com/store/1212725
 82   aliexpress.com/store/1213767
 83   aliexpress.com/store/1231049
 84   aliexpress.com/store/1235083
 85   aliexpress.com/store/124395
 86   aliexpress.com/store/1244123
 87   aliexpress.com/store/1246512
 88   aliexpress.com/store/1246881
 89   aliexpress.com/store/1246896
 90   aliexpress.com/store/1260102
 91   aliexpress.com/store/1262166
 92   aliexpress.com/store/1263073
 93   aliexpress.com/store/1267186
 94   aliexpress.com/store/1269349
 95   aliexpress.com/store/1269482
 96   aliexpress.com/store/1276108
 97   aliexpress.com/store/127895
 98   aliexpress.com/store/127895
 99   aliexpress.com/store/1283084
100   aliexpress.com/store/1283084
101   aliexpress.com/store/1292494
102   aliexpress.com/store/1294491
103   aliexpress.com/store/1295445
104   aliexpress.com/store/1298333
105   aliexpress.com/store/1304064
106   aliexpress.com/store/1314600
107   aliexpress.com/store/1315325
108   aliexpress.com/store/1318060
109   aliexpress.com/store/132381
110   aliexpress.com/store/1330244
111   aliexpress.com/store/1330963
112   aliexpress.com/store/1331504
113   aliexpress.com/store/1331531
114   aliexpress.com/store/1332543
115   aliexpress.com/store/1343023
116   aliexpress.com/store/1359595
117   aliexpress.com/store/1363019
118   aliexpress.com/store/1370190
119   aliexpress.com/store/1380858
120   aliexpress.com/store/1389649
121   aliexpress.com/store/1397225

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122   aliexpress.com/store/1398845
123   aliexpress.com/store/1398952
124   aliexpress.com/store/140272
125   aliexpress.com/store/1407219
126   aliexpress.com/store/1410240
127   aliexpress.com/store/1410240
128   aliexpress.com/store/1416042
129   aliexpress.com/store/1429151
130   aliexpress.com/store/1452854
131   aliexpress.com/store/1452854
132   aliexpress.com/store/1454359
133   aliexpress.com/store/1454483
134   aliexpress.com/store/1454889?spm=0.0.0.0.ukjcv5
135   aliexpress.com/store/1461891
136   aliexpress.com/store/1462068
137   aliexpress.com/store/1470302
138   aliexpress.com/store/1477218
139   aliexpress.com/store/1480015
140   aliexpress.com/store/1482131
141   aliexpress.com/store/1485085
142   aliexpress.com/store/1485085
143   aliexpress.com/store/1496479
144   aliexpress.com/store/1499944
145   aliexpress.com/store/1501361
146   aliexpress.com/store/1502292
147   aliexpress.com/store/1523241
148   aliexpress.com/store/1523241
149   aliexpress.com/store/1523269
150   aliexpress.com/store/1537061
151   aliexpress.com/store/1540205
152   aliexpress.com/store/1542144
153   aliexpress.com/store/1543453
154   aliexpress.com/store/1544060
155   aliexpress.com/store/1552296
156   aliexpress.com/store/1552454
157   aliexpress.com/store/1556419
158   aliexpress.com/store/1595006
159   aliexpress.com/store/15998
160   aliexpress.com/store/1621103
161   aliexpress.com/store/1628339
162   aliexpress.com/store/1630446
163   aliexpress.com/store/1662160
164   aliexpress.com/store/1666542
165   aliexpress.com/store/1678161
166   aliexpress.com/store/1678378
167   aliexpress.com/store/1680125
168   aliexpress.com/store/1685110

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169   aliexpress.com/store/1687051
170   aliexpress.com/store/1707803
171   aliexpress.com/store/1710852
172   aliexpress.com/store/1711800
173   aliexpress.com/store/1724089
175   aliexpress.com/store/1736383
176   aliexpress.com/store/1737430
177   aliexpress.com/store/1748202
178   aliexpress.com/store/203487
179   aliexpress.com/store/205021
180   aliexpress.com/store/205139
181   aliexpress.com/store/207461
182   aliexpress.com/store/208793
183   aliexpress.com/store/213090
184   aliexpress.com/store/213090
185   aliexpress.com/store/215189
186   aliexpress.com/store/218834
187   aliexpress.com/store/221045
188   aliexpress.com/store/224284
189   aliexpress.com/store/230150
190   aliexpress.com/store/239314
191   aliexpress.com/store/239508
192   aliexpress.com/store/313537
193   aliexpress.com/store/315222
194   aliexpress.com/store/316100
195   aliexpress.com/store/316795
196   aliexpress.com/store/317471
197   aliexpress.com/store/317701?spm=0.0.0.0.ktA11S
198   aliexpress.com/store/318424
199   aliexpress.com/store/342635
200   aliexpress.com/store/404344
201   aliexpress.com/store/405726
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204   aliexpress.com/store/409322
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206   aliexpress.com/store/414192
207   aliexpress.com/store/414270
208   aliexpress.com/store/415509
209   aliexpress.com/store/421701
210   aliexpress.com/store/423919
211   aliexpress.com/store/429326
212   aliexpress.com/store/435619
213   aliexpress.com/store/435808
215   aliexpress.com/store/509709
216   aliexpress.com/store/513039
217   aliexpress.com/store/513240

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218   aliexpress.com/store/516272
219   aliexpress.com/store/518650
220   aliexpress.com/store/519207
221   aliexpress.com/store/521938
222   aliexpress.com/store/526279
223   aliexpress.com/store/528290
224   aliexpress.com/store/528902
225   aliexpress.com/store/533451
226   aliexpress.com/store/539356
227   aliexpress.com/store/604034
228   aliexpress.com/store/605529
229   aliexpress.com/store/606970
230   aliexpress.com/store/606970
231   aliexpress.com/store/611987
232   aliexpress.com/store/620472
233   aliexpress.com/store/621783
234   aliexpress.com/store/622234
235   aliexpress.com/store/622234
236   aliexpress.com/store/622453
237   aliexpress.com/store/626248
238   aliexpress.com/store/626383
239   aliexpress.com/store/627927
240   aliexpress.com/store/630395
241   aliexpress.com/store/631239
242   aliexpress.com/store/631239
243   aliexpress.com/store/633895
244   aliexpress.com/store/700568
245   aliexpress.com/store/700568
246   aliexpress.com/store/700568
247   aliexpress.com/store/712882
248   aliexpress.com/store/713636
249   aliexpress.com/store/715136
250   aliexpress.com/store/716811
251   aliexpress.com/store/718343
252   aliexpress.com/store/718346
253   aliexpress.com/store/718916
254   aliexpress.com/store/720570
255   aliexpress.com/store/727281
256   aliexpress.com/store/728327
257   aliexpress.com/store/734633
258   aliexpress.com/store/734633
259   aliexpress.com/store/736293
260   aliexpress.com/store/737547
261   aliexpress.com/store/738068
262   aliexpress.com/store/806452
264   aliexpress.com/store/812201
265   aliexpress.com/store/812210

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266   aliexpress.com/store/815580
267   aliexpress.com/store/816049
268   aliexpress.com/store/818235
269   aliexpress.com/store/819814
270   aliexpress.com/store/820421
271   aliexpress.com/store/820638
272   aliexpress.com/store/821073
273   aliexpress.com/store/822409
274   aliexpress.com/store/825083
275   aliexpress.com/store/827494
276   aliexpress.com/store/827912
277   aliexpress.com/store/829345
278   aliexpress.com/store/830994
279   aliexpress.com/store/831023
280   aliexpress.com/store/832963
281   aliexpress.com/store/835351
282   aliexpress.com/store/902820
283   aliexpress.com/store/910354
284   aliexpress.com/store/913987
285   aliexpress.com/store/916778
286   aliexpress.com/store/924156
287   aliexpress.com/store/924156
288   aliexpress.com/store/924747
289   aliexpress.com/store/926011
293   aliexpress.com/store/929154
294   aliexpress.com/store/931318
295   aliexpress.com/store/931955
296   aliexpress.com/store/937192

    aliexpress.com/store/product/10pcs‐lot‐cartoon‐Monster‐Energy‐claws‐ghost‐monster‐single‐
297 sided‐key‐ring‐Keychains‐pendant‐wholesale‐gift/1684140_32277839078.html

      aliexpress.com/store/product/10pcs‐lot‐cartoon‐Monster‐Energy‐claws‐ghost‐monster‐single‐
298   sided‐key‐ring‐Keychains‐pendant‐wholesale‐gift/222168_32276847051.html
      aliexpress.com/store/product/Hot‐6pcs‐lots‐Mqnster‐Energy‐hard‐Transparent‐Clear‐case‐
299   cover‐for‐Samsung‐S3‐i9300‐Wholesale‐and/1267463_1889700716.html
      aliexpress.com/store/product/two‐Side‐Custom‐PillowCase‐monster‐energy‐PillowCase‐20x30‐
300   inch/1431025_32241732979.html
301   aliexpress.com/supplier‐fm/wholesale‐products/231861105‐productlist.html
302   ioffer.com/selling/caseexpresshipping
303   pt.aliexpress.com/store/1243215
304   www.aliexpress.com/store/1184190
      ebay.com/itm/Cotton‐Acrylic‐Blended‐Baggy‐Beanie‐Winter‐Hats‐Outdoor‐Ski‐Caps‐Monster‐
305   Fashion‐/390967240315?pt=US_Hats&var=&hash=item5b0776a67b

    ebay.com/itm/Honda‐CRF50‐XR50‐Pit‐bike‐black‐plastic‐kit‐Fairing‐XR‐CRF‐3M‐graphic‐decal‐
307 /181114645340?pt=Motorcycles_Parts_Accessories&hash=item2a2b462b5c&vxp=mtr

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    ebay.com/itm/New‐Fashion‐Cotton‐Blended‐Baggy‐Beanie‐Winter‐Hats‐Outdoor‐Caps‐
309 Monster‐/191438893695?pt=US_Baseball_Fan_Shop&hash=item2c92a5b27f
    ebay.com/itm/New‐Fashion‐Cotton‐Blended‐Baggy‐Beanie‐Winter‐Hats‐Outdoor‐Caps‐
310 Monster‐/251724348363?pt=US_Hats&var=&hash=item3a9bf0bbcb

    ebay.com/itm/NEW‐Mens‐Motogp‐Valentino‐Rossi‐Monster‐46‐VR46‐Baseball‐Hat‐Peaked‐
311 Cap‐Moto‐GP‐/251728464725?pt=Apparel_Merchandise&hash=item3a9c2f8b55&vxp=mtr

    ebay.com/itm/Pro‐Racing‐Motor‐Motocross‐Bike‐Full‐Finger‐Cycling‐Warm‐Gloves‐Size‐M‐L‐XL‐
312 XXL‐/201220040643?pt=US_Cycling_Clothing&var=&hash=item2ed9a627c3

      ebay.com/itm/Pro‐Racing‐Motor‐Motocross‐Full‐Finger‐Windproof‐Warm‐Gloves‐Size‐M‐L‐XL‐
313   XXL‐/281497917939?pt=US_Cycling_Clothing&var=&hash=item418a9559f3
314    ioffer.com/selling/ronghua996
315    ioffer.com/selling/ronghua996
316   ioffer.com/i/subaru‐world‐ralley‐team‐polo‐534939444
317   ioffer.com/selling/ahmusawi
318   ioffer.com/selling/ahmusawi
319   ioffer.com/selling/coolhousestore
320   ioffer.com/selling/cretikone34
321   ioffer.com/selling/danapark4
322   ioffer.com/selling/danapark4
323   ioffer.com/selling/gleglobal
324   ioffer.com/selling/lamisso33
325   ioffer.com/selling/lokaloki98
326   ioffer.com/selling/reinage
327   ioffer.com/selling/stickeraholic
328   ioffer.com/selling/taogik78
329   ioffer.com/selling/venuswu
330   ioffer.com/selling/yoshitsune
331   aliexpress.com/store/1427265
332   aliexpress.com/store/807105

                               Defendant Domain Names
  1   greathosting.us
  2   newerait.biz
  3   cheap‐hats.cc
  4   thecheek.co.uk
  5   ttbuy.co.uk
  6   capsnewerauk.co.uk
  7   foriphone6cases.co.uk
  8   cheapoutletforsale.com
  9   vipsportcaps.com
 10   topsportcaps.com
 11   inmkstyle.com
 12   fashiongreatshop.com


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13   goonvip2.com
14   shoes‐online‐stores.com
15   airmaxzapatos.com
16   shoes‐sellers.com
17   tradeey.com
18   crazyhatsclub.com
19   cheapenjoy27.com
20   supremecasquette.com
21   free‐hats.com
22   salecheaphats.com
23   trade‐aliexpress.com
24   goodt‐shirtok.com
25   topmarqueslink2015.com
26   bigdatamadereal.com
27   cambtfootwear.com
28   topmarqueweb2015.com
29   topmarqueslinks2015.com
30   enstoreonline.com
31   yeahclothes.com
32   eztogs.com
33   monsterenergyfan.com
34   descasquettepascher.com
35   spormarkde.com
36   dcshoessaleshop.com
37   kepsarsverigerea.com
38   kappewien.com
39   billigakepsaronline.com
40   finewyou.com
41   cahothats.com
42   capscheap.com
43   cheapredcap.com
44   snapbackolshop.com
45   marqueciel.com
46   newerakepsarse.com
47   lookfreecrochethatpatterns.com
48   xn‐‐kbkasketter‐ggb.com
49   dcshoesoutletonline.com
50   buyinghatsonline.com
51   hattnettbutikk.com
52   venditacappellini.com
53   negozioneweraoutlet.com
54   wholesalesnapbackscaps.com
55   dhbiz.com
56   schoenenwinkelbe.com
58   nflit.com
59   popcaps4u.com
60   jogodepuzzle.com

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 61   2013hats.com
 62   newera‐vendita.com
 63   gorrasprecios.com
 64   cappellinimilano.com
 65   thefashionnewerahats.com
 66   capsforamerica.com
 67   foriphone6casesale.com
 68   monsterenergyhats2015.com
 69   supplyfashionhats.com
 70   hatsown.com
 71   schuhepreis.com
 72   cappelliitaly.com
 73   lescasquettessoldes.com
 74   outletcappelli.com
 75   offertacappelli.com
 76   eshatmallss.com
 77   hatspain.com
 78   monsterclothinglove.com
 79   cappellosaldi.com
 80   kappebilliger.com
 81   diamondsnapbackz.com
 82   dconlinetekoop.com
 83   hatsonlinestoreusa.com
 84   cappellimoda.com
 85   neweravenditamilano.com
 86   hattoslo.com
 87   gorrasbaratasenmadrid.com
 88   offertecappelli.com
 89   capsonline2014.com
 90   discountclassiccaps.com
 91   monsterenergystyle.com
 92   classiccapsonline.com
 93   bestfashionhats.com
 94   capsstorewholesale.com
 95   dulichhomnay.com
 96   newhatsera.com
 97   bouncebacktolife.com
 98   newera‐fr.com
 99   hatspop.com
100   dc‐danmark.com
101   capsoutletwholesale.com
102   modaneweraonline.com
103   neweraberlinshop.com
104   wholesale‐snapbackshats.com
105   antiquesilverco.com
106   ventadczapatillas.com
107   herreidmotel.com

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108   clubprepa.com
109   monsterenergyusa.com
110   repvip.com
111   achetermode.com
112   newerabaratasgorras.com
113   cheapredcapss.com
114   abocompany.com
115   airmagfr.com
116   casquettes‐snapback.com
117   weplel.com
118   thehockeyweb.com
119   orderangrybirdscrochethat.com
120   ownlidssnapbacks.com
121   lookspongebobcrochethatpattern.com
122   sportiveuomoit.com
123   soundshopstudios.com
124   schuhdekaufens.com
125   speicherbillig.com
126   somsko.com
127   nssportsco.com
128   casquetteparisvente.com
129   dconlinezapatillas.com
130   dcshoes2014.com
131   happyshophere.com
132   achatlescasquettes.com
133   33neweracasquette.com
134   herehats.com
135   topdcshoes.com
136   capsandhatsoutlet.com
137   begintrade2015.com
138   ushatcapss.com
139   bestnewerashop.com
140   newerastoreonline.com
141   neweraitalia2014.com
142   cappellinimoda.com
143   90hats.com
144   latestsnapbacks.com
145   lidshatland.com
146   clmmm.com
147   dcshoesonlineoutlet.com
148   modaneweraitalia.com
149   kappegunstig.com
150   tiendasgorras.com
151   hatsonlineclassic.com
152   lovewumarket.com
153   outletck.com
154   casquettedefrance.com

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155   ventadenewera.com
156   kepsrea.com
157   geografic.info
158   snapbackcapno.info
159   cheapsnapbackscaps.me.uk
160   salebestgoods.net
161   newera59fiftycheap.net
162   jerseyonfire.net
163   buycheapnewerasnapbacks.net
164   lookbugsbunnybullssnapback.net
165   buyhatergalaxysnapback.net
166   shopcheapnewerasnapbacks.net
167   owntisasnapbackhats.net
168   wear666.net
169   customnewerahats.org
170   mlbhatsnewera.org
171   snapbackshatsforsale.org
172   hatsstore.org
173   paschernewera.org
174   cappellisaldi.org
175   hiveronline2015.org
176   dcshoesonlinestore.org
177   snapbackvips.org
178   chausetdoud.org
179   cheaphatswholesale.org
180   shopcheapnewerasnapbacks.org
181   lookbugsbunnybullssnapback.org
182   kasketter.org
183   samsunggalaxys5cases.us
184   lidalida.us
185   cheapgears.us
186   limp.us
187   odfjell.us
188   earthweek.us
189   eurobungy.us
190   gaytravelinformation.us
191   nitroland.us
192   newerastoreoutlet.us
193   newerahats.us
194   danmarcou.us
195   justdesignwith.us
196   hamamotuyagi.us
197   enterprise‐cloud.us
198   danceno1.us
199   newerahatsale.us
200   hatsofferonline.us
201   capsoutletonline.us

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202 neweraoutletonline.us
203 sustains.us




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